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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )         2:10-CR-217-PMP (PAL)
                                                         )
11    BOYAN GUEORGUIEV,                                  )
                                                         )
12                           Defendant.                  )

13                      AMENDED PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on June 21, 2011, defendant BOYAN GUEORGUIEV pled guilty to

15    Count One of a Thirty-Two-Count Superseding Criminal Indictment charging him with conspiracy

16    to receive, possess, and conceal unlawfully converted property of the value of $5,000.00 or more,

17    which crossed a State boundary in violation of Title 18, United States Code, Sections 371 and 2315;

18    transporting in interstate commerce property of the value of $5,000.00 or more, which was taken by

19    fraud in violation of Title 18, United States Code, Section 2314; and transmitting interstate wire

20    communications in furtherance and execution of a scheme and artifice to defraud, in violation of Title

21    18, United States Code, Section 1343. Docket #119, #142, #143.

22            This Court finds defendant BOYAN GUEORGUIEV agreed to the forfeiture of the property

23    set forth in Forfeiture Allegations of the Superseding Criminal Indictment and the Plea Memorandum.

24    #119, #143.

25            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

26    America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the
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 1    Superseding Criminal Indictment and the Plea Memorandum and the offense to which defendant

 2    BOYAN GUEORGUIEV pled guilty.

 3            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 4    982(a)(2)(A); Title 18, United States Code, Sections 981(a)(1)(C), and Title 28, United States Code,

 5    Section 2461(c); Title 18, United States Code, Sections 1343, 2314, 2315, specified unlawful activities

 6    as defined in Title 18, United States Code, Sections 1956(c)(7)(A) and 1961(1)(B); Title 18, United

 7    States Code, Section 371; and Title 21, United States Code, Section 853(p):

 8                   1.      2008 Tracker Pro 170 boat, VIN: BUJ01971E708;

 9                   2.      2008 Black, Trailstar Boat Trailer, VIN: 4TM11GE188B001374;

10                   3.      2008 Silver, Subaru Impreza Outback Wagon, VIN: JF1GH63678H823361;

11                   4.      2008 White and Black, Sea Ray boat, VIN: SERV4654A808;

12                   5.      2008 Black, Shorelander Boat Trailer, VIN: 1MDASNY278A408389;

13                   6.      2008 Silver, Audi A4, VIN: WAUAF78E98A114156;

14                   7.      2007 Silver, Volvo S60, VIN: YV1RS592572638224; and

15                   8.      2008 White, Hyundai Accent, VIN: KMHCN46C48U237243.

16            This Court finds the United States of America is now entitled to, and should, reduce the

17    aforementioned property to the possession of the United States of America.

18            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

19    United States of America should seize the aforementioned property.

20            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

21    BOYAN GUEORGUIEV in the aforementioned property is forfeited and is vested in the United States

22    of America and shall be safely held by the United States of America until further order of the Court.

23            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

24    shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

25    website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

26    the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

                                                         2
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 1    the name and contact information for the government attorney to be served with the petition, pursuant

 2    to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

 3            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

 4    with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

 5            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

 6    shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

 7    following address at the time of filing:

 8            DANIEL G. BOGDEN
              United States Attorney
 9            Nevada State Bar No. 2137
              MICHAEL A. HUMPHREYS
10            Assistant United States Attorney
              Lloyd D. George United States Courthouse
11            333 Las Vegas Boulevard South, Suite 5000
              Las Vegas, Nevada 89101
12            Telephone: (702) 388-6336
              Facsimile: (702) 388-6787
13

14            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

15    need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

16    following publication of notice of seizure and intent to administratively forfeit the above-described

17    property.

18                         18th day
              DATED this ______        August, 2011.
                                day of __________________, 2011.

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21                                                 UNITED STATES DISTRICT JUDGE

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 1
                                           PROOF OF SERVICE
 2
              I, Elizabeth A. Baechler-Warren, Forfeiture Support Associate Paralegal III, certify that
 3
      the following individuals were served with a copy of the Amended Preliminary Order of Forfeiture
 4
      on August 15, 2011, by the below identified method of service:
 5

 6            CM/ECF

 7            Terrence M. Jackson
              Law Office of Terrence M. Jackson
 8            624 South Ninth Street
              Las Vegas, NV 89101
 9            Email: Terry.Jackson.Esq@gmail.com
              Attorney for Defendant Dragomir Taskov
10
              John J. Momot , Jr.
11            John J. Momot, Ltd.
              520 South Fourth Street Suite 300
12            Las Vegas, NV 89101
              Email: john@momotlawfirm.com
13            Attorney for Defendant Dimitar Dimitrov

14            Todd M. Leventhal
              Flangas & Leventhal
15            600 South Third Street
              Las Vegas, NV 89101
16            Email: todlev@yahoo.com
              Attorney for Defendant Dimitar Dimitrov
17
              Michael W. Sanft
18            SANFT LAW
              520 S. 4th Street
19            Las Vegas, NV 89101
              Email: sanftlawgroup@mac.com
20            Attorney for Defendant Boyan Gueorguiev

21            Charles E. Kelly
              Charles E. Kelly & Associates
22            706 South Eighth
              Las Vegas, NV 89101
23            Email: ceklv@aol.com
              Attorney for Defendant Nikolay Mladenov
24

25                                         /s/Elizabeth A. Baechler-Warren
                                           Elizabeth A. Baechler-Warren
26                                         Forfeiture Support Associate Paralegal III
